       Case 1:19-cr-00374-JMF         Document 229 Filed 01/11/22 Page 1 of 1
                                                U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    January 11, 2022

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

        The Government respectfully requests, on behalf of the parties, that the Court enter the
attached protective order regarding certain jury records sought by the defendant from the Jury
Administrator of the Southern District of New York, pursuant to the Court’s order dated January
11, 2022 (Dkt. No. 228). The parties have conferred, and understand, consistent with the attached
proposed protective order, that the defendant may use relevant jury records obtained by counsel
for the defendant in previous cases, including United States v. Delowar Hossain, 19 Cr. 606 (SHS),
and will seek from the Jury Administrator only the balance of the records not already in defense
counsel’s possession sought in the defendant’s motion dated January 11, 2022 (Dkt. No. 223).

                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney



                                             By:     s/
                                                    Matthew D. Podolsky
                                                    Andrew A. Rohrbach
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cc:    Robert M. Baum, Esq. (by ECF)
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